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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT O FNEW JERSEY


 NATHAN IVERSON,

                           Plaintiff,

          v.
                                                      Civil Action No. 3:21-CV-13335-mwb
 KANIA REAL ESTATE HOLDING, LLC.,
 et al.

                            Defendant.


                                    ENTRY OF APPEARANCE
TO THE CLERK OF COURT:
          Kindly enter my appearance on behalf of Plaintiff Nathan Iverson in the above-captioned

matter.

                                              DEREK SMITH LAW GROUP, PLLC

                                              /s/ Scott Diamond, Esquire
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Dated: September 12, 2022                     Attorneys for Plaintiff
